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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO
                                  Judge R. Brooke Jackson

Civil Action No 17-cv-02561-RBJ

PRECISION DISCOVERY, INC. f/k/a Precision Discovery, LLC,

       Plaintiff,

v.

HITACHI VANTARA CORPORATION f/k/a Hitachi Data Systems, and
COLD CREEK SOLUTIONS, INC.,

       Defendants.


                       ORDER TO SET SCHEDULING CONFERENCE


       This matter comes before the Court sua sponte. The parties are ordered to set an initial

scheduling conference in this Court (with Judge Jackson) pursuant to Fed. R. Civ. P. 16(b) and

D.C.COLO.LCivR 16.1 no later than 45 days after the answer, motion to dismiss or other

response to the complaint is filed. Each party’s lead trial counsel shall attend the conference.

The conference shall be held in Courtroom A-902, Alfred A. Arraj U.S. Courthouse, 901 19th

Street, Denver, Colorado. The parties are directed to jointly contact Chambers by telephone at

(303) 844-4694 or by email at Jackson_Chambers@cod.uscourts.gov to obtain a scheduling

conference date.

       A meeting for the purposes of attempting to agree on a scheduling order and satisfying

the requirements of Fed. R. Civ. P. 26(f) should be held no later than 21 days before the

proposed scheduling order is tendered. The proposed scheduling order, which should be

prepared as described in the local rules, should be tendered by email no later than five days
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before the scheduling conference. A copy of instructions for the preparation of a scheduling

order and a form scheduling order can be downloaded from the Court’s website

(http://www.cod.uscourts.gov/CourtOperations/RulesProcedures/Forms.aspx).

       DATED this 9th day of October, 2018.


                                                     BY THE COURT:




                                                     ___________________________________
                                                     R. Brooke Jackson
                                                     United States District Judge
